          IN THE UNITED STATES DISTRICT COURT FOR THE
                MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                           :         No. 1:24-cv-00014-JPW-MCC
        Plaintiff,                        :
                                          :
v.                                        :
                                          :
COUNTY OF LANCASTER, et al.,              :
        Defendants.                       :

                                      ORDER

      AND NOW, on this ____ day of ____________ 202__, upon consideration

of Defendant County of Lancaster’s Motion to Take Judicial Notice, IT IS

ORDERED THAT the Motion is GRANTED. The Court shall take judicial notice

of the filings made by Plaintiff Michael Miller referred to in the Motion for

Judicial Notice for purposes of the Court’s consideration of Defendant County of

Lancaster’s Motion for Sanctions (Doc. No. 48).



                                       ________________________________
                                                                 , J.
